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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF VIRGINIA
                             ALEXANDRIA DIVISION



 MAYA PARIZER, et al.,

           PLAINTIFFS,

           v.                                      CASE NO. 1:24-cv-00724-RDA-IDD

 AJP EDUCATIONAL FOUNDATION, INC.
 a/k/a AMERICAN MUSLIMS FOR
 PALESTINE, et al.,

          DEFENDANTS.



                                   NOTICE OF HEARING

       PLEASE TAKE NOTICE that on Wednesday, September 18, 2024, at 10:00 a.m., or as

soon thereafter as the undersigned may be heard, Defendant AJP Educational Foundation, Inc.,

d/b/a American Muslims for Palestine will present to the Court its Motion to Dismiss pursuant to

Fed. R. Civ. P. 12(b)(1) and 12(b)(6).

DATED: August 6, 2024.                      Respectfully Submitted,

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                                CERTIFICATE OF SERVICE

       I certify that on August 6, 2024, I sent this motion via the Court’s electronic filing system

to all counsel of record.


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